_ Juvenile Facing Charges

- By DARRELL HATHCOCK
‘Bond for Shaun Antonto Hayden,
_ 35, of 538 Brevant St. wan revoked
today by a Superior Court judge

‘againat Hayden’ are prepared in
_ Connection with the rape of a 49-
'. year-old woman Saturday.

Judge William 2. Wood revoked |

- the $100,000 bond posted Aug. 19 for
- Hayden during a hearing In open
court’ for the juvenile, who ts
awaiting trial as an adult on felony
charges from two o@er rape cases.

" Juvenile citations, the equivalents
of adult warrants, were {ssued
against’ Hayden for attempted
murder, first-degree fape and
_ ; Sexual’ offense and ‘felonious

. breaking, entering and larceny.
Judge Wood heard evidence from
Sgt. Stephen Burgin of the
Statesville Police Department about
the way the elderly white woman
was tled up with a rope, sexually
assaulted with a flashlight, raped
and then choked by a teen-age black

‘ male about 11:30.a.m. Saturday.
Fingerprints taken from the flash.

Nght and a butcher knife used to-
_threaten the woman were found to .

match those on file for Hayden who
was detained Saturday afternoon for
questioning but wan released and
Picked up again Monday night.
“What we went on to’ show
probable cause was the general des.
cription given. by the. victim:*.the
method used In the rape, the fact
that he (Hayden) was out on bond
and the fact that the dogs followed a
scent to Short St. where he was first
picked up," sald Detective Burgin.
Police said a person. also will
testify to seeing Hayden walking on

the street where the rape victim:

livea 30 minutes prior to the time of
Uye Incident.

Hayden's uncle, Stroy Edwards
Sparks, 20, offered an alibi for the
teen-ager during the court hearing
Sparks said he and Hayden were
shopping at Signal Hill Mall at the
time of the rape :

Judge Wood did-not accept Sparks’
statements and called for Haydon to
be kept in cuatody

“TI don’t want the possibility of this
happening again,” sald Judge Wood

. "We ought to hold him ”’

Relatives end friends jast Thurs-
day gained Hayden's release from a
Juvenile detention center in Forayth
County, where he wan being held
pending trial on the other rape
charger

Police arrested Hayden shortly
after B pm Monday on # custody
order after he waa seen watching
football practice at Stateaville High
School Hayden's whereabouts were

- given to officers ip a tip from an
> ahonymousn-caller

One of the alk people who signed
the teen ager'’s bond was unaware of
the hearing on new churgens today,
and nald phe had not seen or apoken

to Hayden since his return to the
county Thursday :

“Shaun never gave much trouble”
like hia brother, bul you - never /

known Hayden sincé he was a child

“He's & good boy and his mother
sald he went. to church, Sunday
because sometimes he sings in the
choir,” sald Green | |

“while four new felony charges *now,” sald Velva Green, who has :
Investigating

Rape, Assault Case

Pollce Investigators hand
delivered to the State Rureau of
Inventigation (Ingerprintn and
samples Caken from the house of a»
6% yoar-old woman who wan raped
before noon Saturds y:

The victim told police thal a black’
male, 16-18 yearn old, came to her .

door and asked to do yard work The
teen-ager then asked
woman's husband to sigh a paper for
& book the youth aaid he was aciling
When the woman explained her
husband was away, the toon ager
grabbed her by the wrints and forced
her into the house, said Sgt Stephen
Burgin :
After a struggle, the woman was
taken to her bedroom and tied up
She wan sexually assaulted with a
flanhlight and threatened with a
butcher knife before being raped
Police think the assailant tried to
kill the woman, firat by smothering
the woman with a pillow, and then
«

for Unmsn ~ Sberilt's dep

hy choking her with thick twine
found In (he houw:.

After hearing two doors close the
woman got.up from the Moor treed
ber hands using sewing sciuxors and
Called her daughter who notified

Officers think the rape occurred -
about 11: 90am .
artme 2 Ls
followed & trall trom batty
residence lo an area near Short St A
toen ager was picked up by officers
and questioned about 3pm | bul was
released /

Olficers said some £200 in. cash
was taken from the victim's purse
before the attacker left the house

Ther { Was described as

. Seveh inches tall, weighing
130 pounds He was wearing @ pull.
over shirt. shorts and a navy blue,

‘Mesh baseball cap

The rape victim was examined at
Davis Hospital and released

«

hope Tog

TG

_ After Rape, Assault

| (=. *.-ByBRUCE HENDERSON.

. “ “oa. Observer Catawba Valley Bureau 2 Oe Peed
|.» \ STATESVILLE | —~: Statesville police Tuesday »

| Charged a 15-year-old boy with’ the rape ‘and at-.

| tempted murder of a 65-year-old Statesville woman.

_ . The woman was ‘attacked in her house-at 11:30:
| am. Saturday. Police said" she was sexually as-" “
_Saulted, raped and choked, She was not hospitalized,

_ °° Her suspected attacker, charged in two other. Sexe"
. .. UaL assault cases this summer,.was apprehended at Bo
é-’p.m.-Monday by patrolling officers on the Statesville. -
«. ‘Senior High School campus, where he was'a former.’ .
Student. 0 ee ES
J" The boy, whose name police did. not release be-
_ + ».cause of his age, was charged with first-degree rape,
_ ... first-degree sexual offense, attempted.murder and
' felonious entering and larceny. ic
_.. During a superior. court hearing ‘Tuesday morning; : ~ -
_:: the ‘boy’s $100,000: bond for. two previous sexual.
-assault-cases, on which he had been: freed, was re-
voked. He is being held without bond in Iredell.
County Jail until a juvenile court hearing Thursday.*:; —
During the Thursday hearing, Detective Sgt. Ste-
phen Burgin said, a judge will decide whether to-try-
=the, boy: as a-juvenile or as an adult. Burgin: said -
~ juveniles near the age of 16 are often prosecuted as
... adults if the charges they: face are especially serious..: :
"The suspect was identified Monday after the:State‘
. Bureau of Investigation laboratory matched finger- | -
_ prints on a butcher knife blade, found at the ‘scene, °
with prints on file, TY
"The victim told police her attacker appeared at her *
_ door Saturday, asked to do yard work and asked if
- her husband was at home. He then forced her inside co
and tied her up. . os

"Rape

ere

. A name in a‘hat led police to
_ charge. 15-year-old black.male with
‘first-degree burglary and attempted
Tape of a 34-year-old

woman Sunday morning. _ .

-hearing on the two felony charges,

“+ Police investigators: credited the .

‘alertness of a. neighbor . with. adjacent bedroom.

_Preventing the rape which. ‘ap-
parently ‘was interrupted by the

neighbor and police ringing the front

‘doorbell at the woman's house.

“We don’t know what. we could.
have. ended up with if the.neighbor.

nadn’t told us. About. what was

Statesville .

_, the attack,
‘The youth went before a District 7"
Court judge today for a preliminary -

-.-. tore off her brassiere and panties

Charges Lodged

‘thought to be a peeping tom,” said

-, Sgt. Jack Zimmerman.

”. The victim of the attempted rape -
gave police the following account of :

After .12:33 a.m.: Sunday,. the
woman said’she was in the bathroom
of her house preparing for bed when
she heard someone walking in the

"When she opened the door, she saw

~ ablack male wearing blue corduroy

pants and a white cloth over his head
with only his'eyes visible.
The male grabbed the woman and
threatened to kill her as he forced
‘her back into the bathroom where he

and forced her to lie on the floor.

As the attacker tried to tie the
woman’s hands behind her, the.
doorbell rang. The male reportedly
said, “‘Oh God no,” and ran through
‘the house attempting to find an exit.

_ He escaped through the basement as

_the neighbor and a patrolman stood
atthefrontdoor,

County. bloodhounds ‘and detec-
tives arrived to assist police in the

'* search for the burglary and rape

suspect. a,
Officers located a pile of clothing

“some 75 feet north of Holland Drive

and Brandon St. One item in the pile

- Was a white Statesville High School
. ¢ap with a name written on the

underside of the bill in red ink.
Police. took the juvenile into
custody for questioning after finding
him at his residence in bed, A pair of
blue corduroy pants and a white
cloth, tied as a hood with two holes in

_ the front for the eyes, also were

found in
vestigators,
“Our investigation is continu ing to
determine if there is any connection
between this Suspect and -other

the residence by .in-

- assault cases we have from the
same area,” said Zimmerman.

WEATHER — Scattered showers
and thunderstorms, Mostly cloudy
with showers and thunderstorms
tonight and Tuesday. Local tem-
peratures for the 24-hour period
ending at 6 a.m. today: High, 81:
Low, 63. Rainfall, .56 inch.
a STATESVILLE “ex - Statesvi
police. were looking ‘Monday for. a!

. ofa 65-year-old

Stiitesville Police cé SE ék: Boy

_ By BRUCE HENDERSON.

15-year‘old boy,’ ‘charged in: two
earlier. Sexual! assaults this: sum-
‘mer, in-the ‘brutal ‘weekend rape

5i
: ked -to death _by
‘the suspect, detectives said. .-

The State: Bureau. of “Im

‘far; emblem; Jong pants and ‘a
ae house’ "many: ‘years, Burgh es

et.

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ge ww ores -

t 1 oy

Bmw PE

: said, mending aways tying. ‘his

gant I oe them.: ‘He- Was. de-
-Scribed as clean and well-spoken.:

“Sais physical: description
matclied’ that- of“ “attackers~ in.
| . Other. cases: 16 to: 18 years ‘old,
_ about’ 5 ‘foot: 7, 150 pounds and a -
er muscular. build. ‘During. Satur-

- day’s: attack; ‘the rapist .wore a

dark ‘pullover ‘shirt. with a circu-

vestigation (SBI) laboratory in'Ra- 2s) th

leigh confirmed at 1:30 p.m. Mon-..
day that fingerprints f found atthe
" scené’ ‘matched. ‘prints on file,’ De! cima t eb

tective Sgt./Stephen Burgin said
“had been charged

‘and released. on. bond pending trial
‘her chusband~-'was.-home;~:then. .

» The: susp:

in two. other sexual assaults, Bur-
gin’ said ‘Hi e“has -been a suspect,

-but' not charged; in at least three .
. other ‘sexual assaults -in the last cenghs

four months. “thd:

> MT can tell 1 you one thing ~ this

. uy has done ‘this before,” Burgin

: exactly’ Ww.

quoted ° ‘Saturday’s ° rape victim. -

“He Sust. “went: ‘J-2-3.' He knew
at he was doing.”
Spect ‘had a “similar

oe

Thé ="

_ modus operandi in other cases ‘in
- which. he is suspectgd, Burgin

.

” -knocked:--on ~ ‘the : ‘woman's. “door : ©
- and ‘asked: to do: yard . -work.::

When she declined, he ‘asked.-if

opened the screen. and f forced her

fe tied her. hands with: "twine

‘and choked her ‘on: “her bed, Bur-

gin said..She-was- sexually - as-

: saulted - “with what police think
- was a flashlight, then raped. ««.:

“Her “attacker then forced a pil-

“low oyer her. face, lifted it and .
- again choked her with his hands.

_“We think at thispoint he was

pted Murder Case!

_ breaking and entering, ‘they.

Py onder.
sev arccinahe

Bon “her, ‘usin /Saldy:
because the. attacker made, ‘NGvate. 2.
‘tempt to ‘hide shis face. “She; said,-
“He. choked: me “until I couldn't.

é the: woman said''she lay: “still
‘and “semiconscious until}

‘heard’ ‘doors’ ‘shut’ “and: Saw ah

“back door’ ‘unlatched.” She’ ‘calfe

‘her sister, who called “pollees
About’ $200 was ‘taken: from’ ner

“purse, Police : said.

eS fea es Me

Police don’t ‘know why’ ms was.

to*"bé
warrants. are arawin: “He -will-4 "oe:
charged * with first-degree” Tape.
attempted murder,” first-degree.
sexual offense’ ‘and ‘felonious.

58 da7

re .

"the boy ‘police seek” "wat.
charged earlier ‘this. ‘summef wi
first-degree sexual | assault :.
first-degree burglary in eae
and attempted rape and _first-de-"
gree sexual offense, in ‘another,

“Burgin ‘said. He was ‘Teleased.on,

bond in both 8g

